 8:15-cr-00178-LSC-SMB               Doc # 75   Filed: 11/20/15       Page 1 of 1 - Page ID # 360




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,
                                                                        8:15CR178
       v.
                                                                    PROTECTIVE ORDER
ANTONIO BENITEZ GONZALEZ,

                        Defendant.

            Upon consideration of the Stipulation for Entry of Protective Order (Filing No. 74),

IT IS HEREBY ORDERED

            1.   The bank records the Plaintiff will provide in discovery shall be protected from

further disclosure by the parties and their counsel in this case.

            2.   The parties shall treat said discovery as confidential, and shall not disclose the

information or use the information for any purpose other than presenting this lawsuit, without

further order of the Court.

       DATED: November 20, 2015



                                                s/Thomas D. Thalken
                                                United States Magistrate Judge
